     Case 2:11-cr-00120-RLH-CWH      Document 170      Filed 10/16/14   Page 1 of 1




 1
 2                          UNITED STATES DISTRICT COURT

 3                                  DISTRICT OF NEVADA

 4                                          -oOo-

 5    UNITED STATES OF AMERICA,

 6                            Plaintiff,

 7           vs.                                      2:11-cr-120-RLH-CWH

 8                                                    ORDER
      GEORGE E. ANDERSON,
 9
                              Defendant.
10

11          Based upon the pending motion of the United States in the above-captioned

12    matter, and good cause appearing,

13          IT IS ORDERED that the attorney-client privilege in 2:11-cr-120-RLH, shall

14    be deemed waived, and that defense counsel JAMES HARTSELL, ESQ., shall, within

15    30 days of this order, provide the United States with an affidavit or declaration

16    containing all materials, information, and responses relating to any and all matters

17    put at issue in the defendant’s motion under 28 U.S.C. § 2255 (CR 164).

18          DATED this 14th
                       ____ day
                       16th day of
                                of October,
                                   September,  2014.
                                            2014.

19

20                                         _____________________________________

21                                         UNITED STATES DISTRICT JUDGE

22

23

24

25

26
